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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
                                                                                        ZUI9MAR 19     PM 3:11

UNITED STATES OF AMERICA                               §
                                                       §
V.                                                    §                 A44CR368(1)UY
                                                      §
CHRISTOPHER LEE SIMPSON                               §

                                                [I)   1 P1 I


         Before the court is an "Emergency Motion for Time Served Pursuant to the Provisions of the

First Step Act of 2018," filed Defendant Christopher Lee Simpson. The defendant challenges the

calculation of good time credits by the Bureau of Prisons ("BOP") pursuant to the First Step Act.

         After consideration of the motion, the case file as a whole and the applicable legal authority,

the court is of the opinion it lacks jurisdiction to consider the defendant's motion. A challenge to

the BOP's calculation of an offender's sentence is properly filed in a petition for habeas corpus relief

pursuant to 28 U.S.C.    §   2241 in the district in which the defendant is incarcerated. See Pack    v.




Yusuff   218 F.3d 448, 451(5th Cir. 2000). The defendant is currently incarcerated in the Federal

Medical Center in Fort Worth, Texas. Accordingly, the defendant must file his petition for habeas

corpus relief in the Fort Worth Division of the Northern District of Texas.

         It is therefore ORDERED that the "Emergency Motion for Time Served Pursuant to the

Provisions of the First Step Act of 2018" (Doc. No. 39), filed by Defendant Christopher Lee

Simpson on March 8, 2019, is DISMISSED.

         SIGNED this                day of March 2019.




                                                       ITED STA ES DISTRICT JUDGE
